                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              COLUMBIA DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
v.                                                  )      Criminal No. 1:12-00001
                                                    )      Judge Trauger
[2] WAYNE HAMPTON, JR.                              )

                                            ORDER

        It is hereby ORDERED that this case is set for a change of plea hearing on Friday,

August 3, 2012, at 2:00 p.m.

        It is so ORDERED.

        ENTER this 21st day of June 2012.




                                                    ________________________________
                                                          ALETA A. TRAUGER
                                                            U.S. District Judge




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